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October 27, 2023                                                       jguilfoyle@bakerlaw.com

VIA ECF
Honorable Vernon S. Broderick, U.S.D.J.
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Room 415
New York, NY 10007
       Re:     Patricia Haran v. Orange Business Services, Inc. – 1:21-cv-10585-VSB-JW
Dear Judge Broderick:
        This Firm represents Defendant Orange Business Services NA, Inc. (“OBS”) in the above-
referenced matter. OBS, jointly with counsel for Plaintiff Patricia Haran (“Plaintiff”) (OBS and
Plaintiff collectively, the “Parties”), submit this joint status letter updating the Court as to any
outstanding discovery issues pursuant to Your Honor’s October 3, 2023 Order (Dkt. No. 53).

       The Parties conducted the remaining two depositions of Messrs. Youkhanna and Kimmick
on October 4 and October 5, respectively. On October 23, 2023, Plaintiff served OBS with
supplemental interrogatories and a letter identifying purported discovery deficiencies relating to
OBS’s earlier document production and certain topics discussed during Mr. Kimmick’s deposition.
OBS anticipates being able to provide its responses to these items and supplemental document
production by the end of next week (less than two weeks after its receipt of Plaintiff’s requests).
Additionally, in an effort to streamline the proceedings, OBS will be filing a Stipulation of
Dismissal with respect to its counterclaims against Plaintiff next week.

      The Parties look forward to speaking with Your Honor at our telephonic Post-Discovery
Conference scheduled for November 16, 2023 at 12:30pm, and we thank the Court for Your
Honor’s time and attention to this matter.

Respectfully submitted,

BAKER & HOSTETLER LLP                             FISHER TAUBENFELD LLP
/ s / Justin A. Guilfoyle                         / s / Liane Fisher
Justin A. Guilfoyle                               Liane Fisher

Attorneys for Defendant                           Attorneys for Plaintiff
